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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 *

                   Plaintiff                  *

Vs.                                           *       Case No.: 22-CR-0216
                                                      Next Event: Sentencing,
                                                      May 5th, 2023 at 11:30AM
DAVID WALLS-KAUFMAN                           *

                   Defendant                  *

*          *       *       *   *      *       *       *      *       *      *       *       *

                                   Sentencing Memorandum


      I.        Summary of Relevant Facts Regarding Mr. Walls Kaufman


    David Chadwick Walls Kaufman is 66 years old and has lived in the District of Columbia
metropolitan area for most of his life. He has been an active member of the community, teaching
free Saturday morning T’ai Chi on Capitol Grounds and Lincoln Park on Capitol Hill for 21 years.

    For the last, seven years, every Tuesday, Dr Kaufman has offered pro bono chiropractic
services at N Street Village Women’s Shelter after seeing research on extraordinary results of
chiropractic with substance abuse issues. For decades, Dr. Kaufman was the only chiropractor not
located in the Northwest area of District of Columbia. He has helped many elderly citizens with
their spinal pain, sciatica, charging $5 for an adjustment when their Social Security and Medicaid
would not pay for the cost of chiropractic treatment.

   Dr. Walls-Kaufman was a “gopher” aid to the Committee Director of the Joint Economic
Committee in 1980 and did deliveries across the Capitol Campus and has great respect for the
Capitol Building and love for its history, its architecture, its symbolism, and beauty.

     Dr. Walls-Kaufman has written three books on the dynamics of political evolution, one about
a controversial election; and another published in 2022 on the role of AI in political evolution. He
is also a student of holistic medicine.

   Dr. Kaufman is divorced, with a teenage son. Dr Kaufman has up until this incident led a law-
abiding life and been an upstanding citizen. He has been a credit to his community and a champion
for the disadvantaged.




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II     The Sentencing Guidelines do not apply to the Offense of Parading
       Demonstrating or Picketing in a Capitol Building or grounds in violation of 40
       USC Section 5104 (e)(2)(G).

        The maximum sentence that can be imposed is a term of Six Months incarceration.
The Defendant, based on his lack of criminal history, is requesting the Court to impose a
sentence of probation. It is important to note that if the guidelines did apply to Dr.
Kaufman’s case, the guidelines show a preference toward probation in this circumstance.
“If the defendant is a nonviolent first offender and the applicable guideline range is in Zone
A or B of the Sentencing Table, the court should consider imposing a sentence other than
a sentence of imprisonment, in accordance with subsection (b) or (c)(3).” See 28 U.S.C. §
994(j)

III. Applicable Downward Departures if the Guidelines did apply

Aberrant Behavior:

       Dr. Walls-Kaufman has no prior criminal history and has led a law-abiding life. He
has no convictions of any crime.

Totality of Circumstances:

       Dr. Walls Kaufman was not associated with any of the protesting organizations and
did no damage to the Capitol Building and did not participate in any violent entry to the
Capitol. Dr Walls Kaufman has accepted responsibility for his actions and has entered a
plea of guilty and has cooperated with law enforcement.

       I look forward to addressing the Court on behalf of Mr. Walls-Kaufman. If the
Court has any questions, please do not hesitate to contact me.

                                           Respectfully submitted,

                                           KEMET HUNT LAW GROUP, INC.

                                           /s/ Hughie D. Hunt
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 20th day of April 2023 a copy of the foregoing
Sentencing Memorandum was served electronically via this Court’s CM/ECF upon Attorney
for Plaintiff, Jeffrey Kiok.


                                       /s/ Hughie D. Hunt
                                       Hughie D. Hunt, Esq.




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